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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, EX REL. COMPLAINT
QUINTIN J, SCHWARTZ, SR.,
PLAINTIFF, FILED IN CAMERA AND
y UNDER SEAL
PURSUANT TO
DOCUMENT REPROCESSORS OF NEW YORK, INC., 31 U.S.C. § 3730(B)(2)
DEFENDANT. CASE No.: “cv-

 

 

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DIBBLE & MILLER, P.C.

Craig D. Chartier, Esq.
Attorneys for Plaintiff-Relator
Quintin J. Schwartz, Sr.
Office and P.O. Address

55 Canterbury Road
Rochester, New York 14607
Tel: (585) 271-1500
cde@dibblelaw.com

 

 

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

COMPLAINT FOR
VIOLATIONS OF THE

UNITED STATES OF AMERICA, EX REL.
FALSE CLAIMS ACT

QUINTIN J. SCHWARTZ, SR.,

PLAINTIFF, FILED IN CAMERA AND

_y- UNDER SEAL

PURSUANT TO
31 U.S.C. § 3730(B)(2)

DOCUMENT REPROCESSORS OF NEW YORK, INC.,
JURY TRIAL DEMANDED
DEFENDANT.
CASE No.: -CV-

 

 

Plaintiff-relator Quintin J. Schwartz, Sr. (“Relator”), through his attorneys, Dibble & Mil-
ler, P.C., on behalf of the United States of America, for his Complaint against defendant Document
Reprocessors of New York, Inc. (“Defendant”) alleges, based upon personal knowledge, relevant
documents, and information and belief, as follows:

INTRODUCTION
1. This action seeks damages and civil penalties on behalf of the United States of America
(the “Government’’) and the Relator arising from false and/or fraudulent records, state-
ments and claims made and caused to be made by Defendant and/or its owners, agents, and
employees, in violation of the False Claims Act, 31 U.S.C. §§ 3729 et seq. (the “FCA”).
2. The damages sought herein relate to Defendant’s false representations and/or certifications
under the Davis-Bacon Act (40 U.S.C. § 3141) or other prevailing wage and benefit re-
quirements concerning Defendant’s General Service Administration (“GSA”) Federal Sup-
ply Schedule contract (GS-10F00126X) and/or its advertising to other customers based

upon its GSA status and/or labor rates.

 

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Defendant’s owners are aware, and have been aware of major flaws in its rates of employee
pay and other benefits (e.g., paid holidays, etc.), which, upon information and belief, are
required by Defendant’s status as a GSA contractor, and that Defendant is not, and has not
been, in compliance with the GSA prevailing wage and benefit requirements, and, upon
information and belief, have acted to conceal those flaws.

Upon information and belief, Defendant has a financial disincentive to correct the flaws in
its labor rates and lack of other employee benefits because to seek to rectify the defects
will require Defendant to address issues of backpay, holiday pay, and significant modifi-
cation of the information submitted to the Government concerning its GSA contract and
compliance with its terms. Moreover, upon information and belief, admitting the flaws
may also put Defendant at a competitive disadvantage in the marketplace.

The FCA was enacted during the Civil War, and was substantially amended in 1986, 2009
and 2010. Congress amended the FCA in 1986 to enhance the Government’s ability to
recover losses sustained as a result of fraud against the United States after discovering that
fraud in federal programs was pervasive and that the FCA, which Congress characterized
as a primary tool for combating government fraud, was in need of modernization. The
amendments created incentives for individuals to come forward with information about
fraud against the Government without fear of reprisals or Government inaction and enable
the use of private legal resources to prosecute fraud claims on the Government’s behalf.
The FCA prohibits, among other things: (1) knowingly presenting, or causing to be pre-
sented, a false or fraudulent claim for payment or approval; and (2) knowingly making or
using, or causing to be made or used, a false or fraudulent record or statement material to

a false or fraudulent claim. 31 U.S.C. §§3729(a)(1)(A), (B). Any person who violates the

 

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FCA is liable for a civil penalty of up to $22,363 for each such claim, plus three-times the
amount of the damages sustained by the Government. 31 U.S.C. §3729(a)(1)(A) (as ad-
justed by the Federal Civil Penalties Inflation Adjustment Act of 1990 [28 U.S.C. $2461
note; Public Law 104-410).

7. In 2009, Congress amended the FCA to clarify that a “claim” includes “any request or
demand, whether under a contract or otherwise, for money or property and whether or not
the United States has title to the money or property that (i) is presented to an officer, em-
ployee, or agent of the United States; or (ii) is made to a contractor, grantee, or other re-
cipient, if the money or property is to be spent or used on the Government's behalf or to
advance a Government program or interest ....”” 31 U.S.C. §3729(b)(2).

8. The FCA allows any person with information about a FCA violation to bring an action on
his behalf and that of the Government, and to seek a share of any recovery. The FCA re-
quires that the complaint be filed under seal for a minimum of 60 days (without service on
Defendant during that time) to give the Government (US DOJ) time to conduct its own
investigation and to determine whether to join the action. 31 U.S.C.§ 3730(b)(2).

9. Based on the FCA, qui tam plaintiff Quintin J. Schwartz Sr. seeks, through this action, to

recover all available damages, civil penalties, and other relief for the violations alleged

 

herein in every jurisdiction in which Defendant’s misconduct has taken place.
THE PARTIES
10. Plaintiff-relator Quintin J. Schwartz, Sr. is an individual and a resident of Stanley, New
York. He was a general manager for over 28 years with expertise in disaster recovery and
restoration of books, documents, magnetic diskettes and disk drives, micrographic media,

blueprints and maps, x-ray film, photographs and negatives, audio and video tapes. Until

 

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recently, Relator was Defendant’s general manager and listed as its GSA contract admin-
istrator.

11. Defendant is a New York Domestic Business Corporation, formed in 1990, with its prin-
cipal office located in Penn Yan, Yates County, New York. It is a large scale restoration
business specializing in disaster recovery and restoration of books, documents, magnetic
diskettes and disk drives, micrographic media, blueprints and maps, x-ray film, photo-
graphs and negatives, audio and video tapes, and provides services to the Government,
hospitals, municipalities and private businesses throughout North America.

JURISDICTION AND VENUE

12. The Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §
1331 and 31 U.S.C. § 3732, the latter of which specifically confers jurisdiction on this
Court for actions brought pursuant to 31 U.S.C. §§ 3729 and 3730.

13. Although it is no longer a jurisdictional requirement, after the 2009 amendments to the

 

FCA, to Relator’s knowledge, there has been no statutorily relevant public disclosure of
the “allegations or transactions” set forth in this Complaint. See 31 U.S.C. § 3730(e), as
amended by Pub.L.No. 111-148, § 101040(j)(2), 124 Stat. 119, 901-02.

14. This Court has personal jurisdiction over the Defendant pursuant to 31 U.S.C. § 3732(a) as
it authorizes nationwide service of process and because Defendant has minimum contacts
with the United States. Moreover, Defendant can be found in and/or transacts and/or has
transacted business in the Western District of New York.

15. Venue is proper in the Western District of New York pursuant to 28 U.S.C. §§ 1391(b)-(c)
and 31 U.S.C. § 3732(a) because Defendant can be found in and/or transacts and/or has

transacted business in this district, and because violations of 31 U.S.C. §§ 3729 et seg.

 

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alleged herein occurred within this district. At all times relevant herein, Defendant regu-
larly conducted substantial business and was principally located within this district.
FACTUAL BACKGROUND

16. On or about February 28, 2011, Defendant was awarded work pursuant to a GSA contract
(GS-10F0126X).

17. From 2011 through 2020, Defendant advertised that it was a GSA contractor and, upon
information and belief, offered purportedly reduced GSA pricing to hundreds of busi-
nesses, municipalities, states, and Government agencies. During that time, Defendant pro-
vided disaster relief services to the Government and others as a result of several major
disasters (e.g., Hurricanes Sandy, Matthew, Irma, Harvey and Maria), as well as many oth-
ers, relatively speaking, minor disruptions caused by flooding, fires or deep freezes.

18. From 2011 to 2020, many of Defendant’s projects were multi-million-dollar jobs. Three
Hurricane Sandy projects alone involved approximately$8,000,000 to $10,000,000 in De-
fendant’s sales.

19. Upon information and belief, perhaps as early as 2012, Defendant and its owners were
aware of GSA prevailing wage and benefit requirements, and that Defendant was not in
compliance with those requirements.

20. While Relator was Defendant’s general manager and listed as its GSA contract adminis-
trator, he was not involved, in any way, with Defendant’s payroll or in ensuring the GSA’s
prevailing wage and benefit requirements were being met by Defendant. Relator role was
to manage field operations and issues related to the same, not to deal with payroll or human

resource issues.

 

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Until 2019, Relator was unaware of the GSA’s prevailing wage and benefit requirements
or that there was any potential issue with Defendant’s compliance with the same.

In 2019, Relator learned about the GSA’s prevailing wage requirements when he began to
review the job duties for one of Defendant’s other employees, Duncan Rioch (now de-
ceased) who was the original GSA contact involve in creating and publishing the GSA
contract, who eventually left the company due to a terminal illness.

In 2019, based upon information provided to him by other employees of Defendants, Dun-
can Rioch (now deceased) and Belinda Wilcox (front office accounting an payroll man-
ager) which was also provided to Defendant’s owners, Relator discovered that it appeared
Defendant was not in compliance with GSA’s wage and benefit requirements.

Upon learning of Defendant’s potential noncompliance with the GSA’s prevailing wage
and benefit requirements, Realtor inquired of Defendant’s owners seeking sufficient infor-
mation to verify that the prevailing requirements were being met by Defendant. That in-
formation was not provided.

Thereafter, Relator learned from employees of Defendant that, upon information and be-
lief, Defendant was not paying its employees according to the GSA prevailing wage re-
quirements and Defendant was underpaying its employees, despite having sufficient profits
to easily meet the wage requirements.

In late 2019, Relator also discovered that Defendant’s owners had full knowledge of GSA’s
prevailing wage and benefit requirements, and that those requirements were not being met
by Defendant.

Thereafter, Relator learned that Defendant’s legal counsel had opined and confirmed in

communications with Defendant’s owners that Defendant was not in compliance with the

 

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GSA wage and benefit requirements and, in order to advertise to potential customers that
Defendant was a GSA contractor, Defendant would need to be compliance with the GSA
wage and benefit requirements.

28. Defendant’s owners advised Relator that, in spite of the opinion of Defendant’s own legal
counsel, Defendant did not need to comply with the prevailing wage requirements.

29. Despite due demand by Relator, Defendant’s owners failed to offer Relator any justifiable
basis for their position that Defendant did not need to comply with the GSA prevailing
wage and benefit requirements for its employees.

30. Defendant’s owners issued an ultimatum to Relator: Either submit updates to the GSA
contract and certify to the Government that Defendant had met the GSA prevailing wage
requirements or immediately submit your resignation.

31. After the ultimatum was issued, Relator again sought information from Defendant’s own-
ers that would permit him either to verify to the Government that GSA’s prevailing wage
requirements were being met or an opinion from legal counsel that there was no need for

Defendant’s GSA wage compliance. Neither the information nor the legal opinion was

 

provided to Relator.

32. Relator informed Defendant’s owners that he could not and would not verify to the Gov-
ernment that Defendant was in compliance with GSA prevailing wage and benefit require-
ments because he lacked information to do so.

33. On February 19, 2020, solely because Relator could not and would not certify compliance
with GSA’s prevailing wage requirements, Defendant terminated Relator’s employment

with immediate effect.

 

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34. Upon information and belief, Defendant maintains books and records that demonstrate that
it is not in compliance with GSA’s prevailing wage and benefit requirements.

35. Upon information and belief, Defendant maintains books and records that demonstrate that
Defendant and/or its owners and/or employees were fully aware that Defendant was not in
compliance with GSA’s prevailing wage and benefit requirements.

36. Upon information and belief, Defendant maintains books and records that demonstrate that
despite the fact that Defendant and/or its owners and/or employees were fully aware De-
fendant was not in compliance with GSA’s prevailing wage and benefit requirements, De-
fendant’s owners directed Relator to falsely certify to the Government that Defendant was
in compliance with those requirements

37. Defendant has advertised to its customers that it is a GSA contractor ostensibly or directly
falsely representing that it is or was compliance with GSA’s prevailing wage requirements,
when it is not in compliance with those requirements.

38. Upon information and belief, Defendant has certified that it was or will be in compliance
with GSA’s prevailing wage and benefit requirements, when it was not or will not be in
compliance with said requirements.

39. Upon information and belief, Defendant has knowingly and/or recklessly misrepresented
to the Government and/or to Defendant’s other customers that it was or will be in compli-
ance with GSA’s prevailing wage and benefit requirements, when it was not or will not be

in compliance with said requirements.

 

 

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CAUSES OF ACTION PURSUANT TO THE FALSE CLAIMS ACT
1. 31 U.S.C. §§ 3729(4)(1)(A)-(B) — FRAUDULENT CLAIMS & RECORDS
. Plaintiff repeats and realleges each and every allegation contained in the foregoing para-
graphs as if set forth herein in their entirety.
Based on the foregoing, Defendant knowingly presented, or caused to be presented, false
or fraudulent claims to the Government for payment or approval.
Defendant knowingly made, or used or caused to be made, or used false or fraudulent rec-
ords or statements material to submit false or fraudulent claims for payment by the Gov-
ernment.
. At this time, Relator cannot identify all of the false claims for payment that were made or
caused to made by Defendant’s conduct. The false claims were presented by Defendant,
and Relator did not and does not have access to the records of all of the false or fraudulent
statements, records or claims.
Upon information and belief, the Government, without knowledge of the false records or
claims, paid and/or will pay the claims that would not be paid but for Defendant’s fraudu-
lent conduct.
By reason of Defendant’s conduct, the Government has been damaged and continues to be
damaged in an amount to be determined at trial, is entitled to the maximum penalty of up
to $22,363 per violation, and to treble damages as permitted by 31 U.S.C. 3729 et seq., as
amended.
2. 31 U.S.C. §3730(H) — RETALIATION
Plaintiff repeats and realleges each and every allegation contained in the foregoing para-

graphs as if set forth herein in their entirety.

 

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47. Defendant terminated Relator’s employment solely because of his lawful acts in seeking
to verify that Defendant was in compliance with the GSA prevailing wage and benefit re-
quirements and because he refused to falsely certify such compliance in the absence of that
verification.

48. Relator sought said verification to ensure Defendant was not in violation of 31 U.S.C.
§§3721 et seq. or to stop violations of said chapter.

49, As a result of Defendant’s actions, Relator is entitled to have his employment reinstated,
two-times the amount of his back pay with interest, and to special damages in an amount
to be determined by the Court, including litigation costs and reasonable attorneys’ fees.

WHEREFORE, qui tam plaintiff-relator Quintin J. Schwartz, Sr. respectfully seeks judgment

against Defendant as follows:

A. Requiring Defendant to immediately cease and desist from violating 31 U.S.C. § 3729 et
seq.;

B. For damages in an amount equal to three-times the amount of damages sustained by the
United States of America due the Defendant’s actions, plus civil penalties of not less than
$11,181 and not more than $22,363 for each violation of 31 U.S.C. § 3729;

C. Awarding Relator the maximum amount of damages permitted by 31 U.S.C. § 3730(d);

D. Awarding Relator reinstatement of his employment, two-times the amount of his back pay
then due with interest, and special damages in an amount to be determined by the Court;

E. Awarding Relator his costs, disbursements and reasonable attorneys’ fees; and

F, Awarding such other and further relief as the Court may deem just, proper and equitable.

JURY TRIAL IS HEREBY DEMANDED

 

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Dated: March {Z, 2020
Rochester, New York

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Craig D. Chartier, Esq. \
Attorneys for Plaintiff-Relator
Quintin J. Schwartz, Sr.

55 Canterbury Road
Rochester, New York 14607
Tel: (585) 271-1500

cde@dibblelaw.com

 

 

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